
Kirkpatrick, C. J.
— This proceeding is irregular. It pretends tobe a judgment upon a note of hand with leave to enter judgment. But this cannot be done upon mere inspection. Either the party or his attorney must appearand confess the judgment, or proof of the signing the warrant, must be exhibited. And it is much to be questioned whether even this is admissible in a justice’s court, without summons to the party, and an opportunity offered him at least, of cross-examining the [*] witness. It is to be observed that *67this is not a proceeding under the act contained in Paterson, page 454. That respects scaled instruments with regular warrants of attorney, this is a note without any such warrant.
Pearson, for plaintiff.
I think the judgment is wrong in its principle, and therefore must be reversed.
Rossexx and Pennington, Justices, concurred.
Judgment reversed.
